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JUDITH A. PHILIPS                                                         FILED IN THE
                                                                 UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF HAWAII ~
Acting United States Attorney                                    Jul 14, 2021, 1:11pm
District of Hawaii                                               Michelle Rynne,
                                                                 Michelle        Clerk of
                                                                          Rynne, Clerk    Court
                                                                                       of Court




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UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AtvffiRICA,            )   CR. NO. 21-00089 JMS
                                        )
                     Plaintiff,         )   INFORMATION
       vs.                              )
                                        )   [18 u.s.c. § 1924]
ASIA JANAY LAVARELLO,                   )
                                        )
                     Defendant.         )

                                  INFORMATION
The U.S. Attorney charges:
             Unauthorized Removal and Retention of Classified Material
                              (18 u.s.c. § 1924)

      On or about and between March 28, 2020 and April 13, 2020, both dates

being approximate and inclusive, within the District of Hawaii and elsewhere,

ASIAJANAYLAVARELLO, the defendant, an employee of the United States, and
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by virtue of her employment, being in possession of certain documents and

materials containing certain classified information of the United States concerning

the national defense or foreign relations of the United States, knowingly removed

such material without authorization with intent to retain such material at an

unauthorized location; namely, LAVARELLO unlawfully and knowingly removed

a notebook containing classified material from the United States Embassy in

Manila, Republic of the Philippines and retained it at her residence in Honolulu,

Hawaii.

      All in violation of Title 18, United States Code, Section 1924.

DATED:       July 14, 2021, in Honolulu, Hawaii.



~~AtA~THA.P . S            v
Acting United States Attorney
District f



Assistant United States Attorney

United States v. Asia Janay Lavare/lo
Information
Cr.No.




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